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15
                                  UNITED STATES DISTRICT COURT
16
                                           DISTRICT OF NEVADA
17
       BANK OF NEW YORK MELLON,                           Case No.: 2:22-CV-00341-ART-NJK
18
                              Plaintiff,                  STIPULATION TO STAY CASE PER
19                                                        STATUS CONFERENCE WITH
                      vs.                                 DISTRICT COURT
20
       COMMONWEALTH LAND TITLE
21     INSURANCE COMPANY, et al.,
22                            Defendants.
23

24
            Plaintiff Bank of New York Mellon and defendants Chicago Title Insurance Company and

25
     Fidelity National Title Group, Inc., by and through their undersigned counsel, hereby stipulate

26
     and agree as follows, subject to the approval of the District Court.

27
            WHEREAS, this is one of over 100 title insurance coverage disputes pending before the

28
     courts within the state of Nevada following an HOA foreclosure sale (and one of many such cases

                                             1
            STIPULATION TO STAY CASE PER STATUS CONFERENCE WITH DISTRICT COURT
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 1   recently assigned to the Hon. Anne R. Traum). The majority of case concern the ALTA 1992 or
 2   ALTA 2006 loan policies of title insurance, along with the CLTA 100/ALTA 9, CLTA
 3   115.1/ALTA 4, and CLTA 115.1/ALTA 5 endorsement forms;
 4          WHEREAS, on May 5, 2022, the parties in another one of these cases (Deutsche Bank
 5   National Trust Company v. Fidelity National Title Group, Inc. et al., Case No. 2:20-cv-02355-
 6   ART-NJK) involving the same counsel as in this case appeared for a status conference before the
 7   Hon. Anne R. Traum;
 8          WHEREAS, at the May 5, 2022, the parties discussed staying many of these cases that
 9   are now pending before the Hon. Anne R. Traum, and the Court agreed that, in the interest of
10   judicial economy, good cause existed to stay many of these cases, to allow the parties to see how
11   other such cases developed;
12          WHEREAS, in the interest of judicial economy, the instant case is among those that the
13   parties believe there is good cause to stay this case;
14          NOW THEREFORE, the parties stipulate and agree as follows, subject to the approval
15   of the District Court:
16          1. This case shall be STAYED for a period of six months;
17          2. All deadlines currently set in this case are hereby VACATED.
18          3. By entering into this Stipulation, none of the Parties is waiving its right to
19              subsequently move the Court for an order lifting the stay in this action.
20   //
21   //
22   //
23   //
24   //
25   //
26   //
27   //
28   //

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            STIPULATION TO STAY CASE PER STATUS CONFERENCE WITH DISTRICT COURT
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 1         4. The Parties will submit a new joint Rule 26(f) report within thirty (30) days after the
 2             stay is lifted.
 3

 4   Dated: July 15, 2022                         WRIGHT FINLAY & ZAK LLP
 5

 6                                                By:    /s/-Lindsay D. Dragon
                                                        LINDSAY D. DRAGON
 7                                                      Attorneys for Plaintiff
                                                        BANK OF NEW YORK MELLON
 8

 9   Dated: July 15, 2022                         SINCLAIR BRAUN LLP
10

11                                                By:     /s/-Kevin S. Sinclair
                                                        KEVIN S. SINCLAIR
12                                                      Attorneys for Defendant
                                                        COMMONWEALTH LAND TITLE
13                                                      INSURANCE COMPANY
14

15   IT IS SO ORDERED.

16   Dated this _____ day of _____________, 2022.

17                                                __________________________________________
                                                  THE HON. ANNE R. TRAUM
18                                                UNITED STATES DISTRICT JUDGE
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           STIPULATION TO STAY CASE PER STATUS CONFERENCE WITH DISTRICT COURT
